                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )      Criminal No. 3:13-00139
                                                     )      Judge Trauger
                                                     )
[2] FALLON SABLAN, a/k/a Smiley, and                 )
[3] QUANTEZ MILLER                                   )

                                            ORDER

         The Motion to Continue Trial filed by defendant Sablan (Docket No. 67) is GRANTED,

conditioned upon the timely filing of a waiver of speedy trial by the co-defendant, Quantez

Miller, who apparently is not opposed to this continuance. By separate order, the trial is being

continued to February 18, 2014.

         It is further ORDERED that pretrial motions shall be filed January 7, 2014.

         It is so ORDERED.

         ENTER this 21st day of November 2013.



                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




     Case 3:13-cr-00139      Document 69       Filed 11/21/13     Page 1 of 1 PageID #: 216
